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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

 RACHEL PAPP, et al.,                        )   CASE NO.: 1:17-cv-00800-DAP
                                             )
                Plaintiffs,                  )   JUDGE DAN AARON POLSTER
                                             )
        v.
                                             )
 AS AMERICA, INC.,                           )   STIPULATED NOTICE OF DISMISSAL
                                             )   WITH PREJUDICE
                Defendant.                   )

       The parties, through counsel, pursuant to Fed. Civ. R. 41(A)(1)(a)(2) and this Court’s Order

of June 14, 2017, hereby stipulate to the dismissal of this cause, with prejudice. Each party to bear

its own costs. The parties further stipulate to the court retaining jurisdiction to enforce the terms

of the settlement agreement reached between them in this case.

       IT IS SO STIPULATED:

/s/     Brendon P. Friesen                            /s/    Marcel C. Duhamel
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IT IS SO ORDERED:



                               _________________________________________
                               DAN AARON POLSTER
                               UNITED STATES DISTRICT JUDGE




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